                      UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                          CASE NO.: 5:13-CV-447-FL


MAURICIO AGUILAR GAMAS and ANGEL                     )
MARTINEZ on behalf of themselves                     )
and all other similarly situated                     )
persons,                                             )
                                                     )
               Plaintiffs,                           )
                                                     )
v.                                                   )
                                                     )
SCOTT FARMS, INC., ALICE H. SCOTT,                   )
LINWOOD H. SCOTT, JR., LINWOOD H.                    )
SCOTT III, and DEWEY R. SCOTT,                       )
                                                     )
                              Defendants.            )
                                                     )
_________________________________________            )


  JOINT MEMORANDUM OF LAW IN SUPPORT OF JOINT MOTION FOR
CLASS AND COLLECTIVE ACTION CERTIFICATION UNDER RULE 23(b)(3)
                     AND 29 U.S.C. § 216(b)

I.     STATEMENT OF THE CASE

       Plaintiffs Mauricio Aguilar Gamas and Angel Martinez filed their Amended

Complaint on August 27, 2013, alleging claims for relief under three legal theories. DE

9. The first is a collective action claim for minimum wage and overtime violations under

the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201 et seq. The second is a class

action claim pursuant to Rule 23(b)(3), Fed. R. Civ. P., for failure to pay the promised

wage under the North Carolina Wage and Hour Act (“NCWHA”), N.C. Gen. Stat. §§ 95-

25.1 et seq. The final claim is a second class action claim under Rule 23 for violations of

the Migrant and Seasonal Agricultural Worker Protection Act (“AWPA”). 29 U.S.C. §§



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1801, et seq. Defendants denied liability for all claims in their Answer.

       The Plaintiffs and Defendants have negotiated a settlement agreement in this

action which includes relief on a class wide basis for the Plaintiff Aguilar Gamas’s claims

under the AWPA and relief for a collective action of similarly situated employees for

Plaintiffs Aguilar Gamas and Martinez’s overtime claims under the FLSA. For

settlement purposes only, Defendants consent to and join in this Joint Motion for Class

and Collective Action Certification under Rule 23(b)(3) and 29 U.S.C. § 216(b) (“Joint

Motion”) pursuant to the Settlement Agreement reached between the parties, DE 78-2,

which is the result of compromise to resolve the disputes between them and does not

constitute an admission of any liability to any party. The parties submit the Joint Motion

pursuant to that Settlement Agreement and to effect the terms of the settlement. DE 78.

       Accordingly, pursuant to the Settlement Agreement, the parties now seek to

certify a Plaintiff Class under the AWPA for statutory damages under 29 U.S.C. §

1854(c)(1) and Rule 23(b)(3), Fed. R. Civ. P., and to certify a collective action under the

FSLA for back wages and liquidated damages. 29 U.S.C. §§ 207 and 216(b). The parties

respectfully submit this Memorandum of Law in support of their Joint Motion.

II.    RELEVANT FACTS

       The essential facts to support this motion are alleged in Paragraphs 21-24, 41-49, 53-

62, _64-65, 69, and 79-84 of the Amended Complaint. DE 9. In addition, named Plaintiff

Mauricio Aguilar Gamas’s sworn declaration, which was previously filed with this Court,

describes his individual claims as well as claims of similarly situated members of the

putative Rule 23 class and the members of the collective action. See Declaration of

Mauricio Aguilar Gamas, DE 66-1. Named Plaintiff Angel Martinez’s declaration also



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describes his claims and those of the similarly situated members of the collective action.

See Declaration of Angel Martinez, DE 66-2.

       Plaintiffs filed a Motion to Conditionally Certify a Fair Labor Standards Act

Collective Action and to Authorize Notice to be Issued to the Putative Members of the

FLSA Collective Action on August 8, 2014. DE 61. Defendants have not responded to

this motion, and the Court has postponed the deadline for a response until 30 days after

the date the Court rules on the parties’ motion for final settlement approval. DE 75.

       The parties entered into a Settlement Agreement, DE 78-2, at the conclusion of

twelve hours of negotiation that was mediated by Mark Finkelstein, Esq., on September

15, 2014. The settlement was preceded by substantial discovery, which is detailed on pp.

4-5 of their Memorandum in Support of Joint Motion for Preliminary Approval of

Collective Action and Class Action Settlement. DE 79.

       The Settlement Agreement calls for the certification of a Rule 23 class and FLSA

collective action for settlement purposes. Accordingly, the parties move under Rule

23(b)(3), Fed.R.Civ.P., for certification of a class represented by Plaintiff Aguilar Gamas

and defined as follows:

       all migrant or seasonal agricultural workers (as the terms “migrant
       agricultural worker” and “seasonal agricultural worker” are defined in 29
       U.S.C. §§ 1802(8) and 1802(10) and 29 C.F.R. §§ 500.20(p) and
       500.20(r)) who performed temporary or seasonal work in agriculture as an
       employee of Scott Farms and/or the individual Scott defendants between
       June 20, 2010 and September 15, 2014 and who were paid on a piece rate
       during any workweek during that time period.

DE 9 at ¶42; DE 79, pp. 5-6.




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        The parties also jointly move the Court for certification of an opt-in class

under 29 U.S.C. § 216(b) for Plaintiff Aguilar Gamas and Martinez’s claims

under 29 U.S.C. § 207 (“FLSA Collective Action”), defined as follows:

        Any person who was employed by Scott Farms, Inc. and/or the individual
        Scott defendants in Scott Farms, Inc.’s packing house in or around Wilson
        County, North Carolina in any workweek ending in the time period from
        June 20, 2010 through September 15, 2014 who worked in excess of 40
        hours in any workweek when, during that same workweek, that same
        person also processed or packed any sweet potatoes that were not grown
        and produced in connection with the farming operations of Scott Farms,
        Inc.

DE 9 at ¶¶ 21-22; DE 61 at ¶2; DE 79, p. 6.

        The terms of the settlement between the defendants and the named plaintiffs are

pending this Court’s approval pursuant to Rule 23(e), Fed.R.Civ.P., after a Court-approved

notice and an opportunity to comment or withdraw by the putative class and FLSA

collective action members has been distributed.

        This Memorandum is filed by the parties in support of the Joint Motion for Class

and Collective Action Certification pursuant to the terms of the proposed settlement

between the parties.

                                        ARGUMENT

III.    CLASS CERTIFICATION OF THE AWPA CLAIMS IS APPROPRIATE

        When a settlement is reached prior to Rule 23 certification, the law permits a class to

be certified solely for the purposes of settlement. Covarrubias v. Capt. Charlie’s Seafood,

Inc., 2011 WL 2690531 (E.D.N.C., July 06, 2011), at *2. There is a strong judicial policy in

favor of settlement. See Bennett v. Behring Corp., 737 F. 2d 982, 986 (11th Cir. 1984). The

parties seeking class certification must still meet the four prerequisites of Federal Rules of

Civil Procedure 23(a)(1) through (4) and then must establish that they constitute a proper

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   class of at least one of the types delineated in Rules 23(b)(1) through (3). However, in those

   cases, courts do not need to inquire whether the class will be manageable at trial because the

   settlement makes a trial unnecessary. Anchem Products v. Windsor, 521 U.S. 591, 620

   (1997).

             As detailed below, Plaintiffs’ Amended Complaint and the information submitted in

   support of the Joint Motion are sufficient to satisfy the requirements of Rule 23(a) and

   establish that the Class Plaintiffs seek to represent also qualify under Rule 23(b)(3).

A. Named Plaintiff Aguilar Gamas is a Member of and has Precisely Defined the Plaintiff
   Class He Seeks to Represent.

             The court must make two initial determinations before determining whether to

   certify a class action: that a precisely defined class exists, Haywood v. Barnes, 109 F.R.D.

   568, 576 (E.D.N.C. 1986), and that the class representative is a member of the proposed

   class. East Texas Motor Freight System, Inc. v. Rodriguez, 431 U.S. 395, 403 (1977).

   The AWPA Class is defined as

             all migrant or seasonal agricultural workers (as the terms “migrant
             agricultural worker” and “seasonal agricultural worker” are defined in 29
             U.S.C. §§ 1802(8) and 1802(10) and 29 C.F.R. §§ 500.20(p) and
             500.20(r)) who performed temporary or seasonal work in agriculture as an
             employee of Scott Farms and/or the individual Scott defendants between
             June 20, 2010 and September 15, 2014 and who were paid on a piece rate
             during any workweek during that time period

    and is therefore sufficiently precise. Haywood, 109 F.R.D. at 576. Plaintiff Aguilar Gamas

   worked for Defendants as a piece rate migrant and/or seasonal agricultural worker during

   the relevant time period. Therefore, he is clearly a member of the AWPA Class which he

   seeks to represent.




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B. The Numerosity, Commonality, Typicality and Adequacy Requirements of Rule 23(a)
   are Satisfied with regard to the Class.

            A class action under Rule 23, Fed.R.Civ.P., “may only be certified if the trial court is

   satisfied, after a rigorous analysis, that the prerequisites of Rule 23(a) have been satisfied.”

   General Telephone Co. of Southwest v. Falcon, 457 U.S. 147, 161 (1982) (“Falcon”). Thus,

   “Falcon requires the trial court to engage in an extensive factual analysis at the certification

   stage in order to satisfy itself that the requirements of Rule 23 have been met.” Haywood,

   109 F.R.D. at 575. However, the trial court does not examine the merits of the underlying

   claims when it decides a motion for class certification. Eisen v. Carlisle & Jacquelin, 417

   U.S. 156, 177-78 (1974); see also Covarrubias., 2011 W 2690531, *3.

            Courts should “give Rule 23 a liberal rather than a restrictive construction, adopting

   a standard of flexibility in application which will in the particular case best serve the ends of

   justice for the affected parties and . . . promote judicial efficiency.” Gunnells v. Health Plan

   Services, Inc., 348 F.3d 417, 424 (4th Cir. 2003) (citing In re A.H. Robins, 880 F.2d 709,

   740) (4th Cir. 1989), cert. den., Anderson v. Aetna Cas. and Sur. Co., 493 U.S. 959

   (1989)), cert. den., Healthplan Services, Inc. v. Gunnells, 542 U.S. 915 (2004); see also

   Kidwell v. Transportation Communications International Union, 946 F.2d 283, 305 (4th

   Cir. 1991), cert. den., 503 U.S. 1005 (1992) (“[t]rend is to give Rule 23 a liberal

   construction.”); Rodger v. Electronic Data Systems Corp, 160 F.R.D. 532, 535 (E.D.N.C.

   1995).

       1. The AWPA Class is sufficiently numerous and joinder is impracticable.

            The numerosity requirement of Rule 23(a)(1), Fed.R.Civ.P., mandates that the class

   be “so numerous that joinder of all members is impracticable.” There is no set number of

   members necessary for class certification and the decision to certify or not certify a class

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must be based upon the particular facts of each case. See Haywood, 109 F.R.D. at 576-77

(courts have "certified classes composed of as few as eighteen… and twenty-five members")

(citations omitted).

        The proposed settlement class includes more than 800 people who worked for

Defendants on a piece rate basis. Although there are a sufficient number of putative class

members to establish numerosity, this Court’s analysis should not be limited to numbers

alone. See Rodger, 160 F.R.D. at 536-537. Here, the presumption of numerosity should

also stand because joinder of all members of the class is all but impossible. Where, as in

this case, class members are geographically dispersed, lack sophistication, and are non-

English speaking migrant workers, courts have found that such additional factors make

joinder impracticable. See Gaxiola v. Williams Seafood of Arapahoe, Inc., 776 F.Supp.2d

117, 130 (EDNC 2011); Covarrubias, 2011 WL 2690531 at 4; Rodriguez v. Berrybrook

Farms, Inc., 672 F. Supp. 1009, 1013-1014 (W.D. Mich. 1987); Leyva v. Buley, 125 F.R.D.

512, 515 (E.D.Wash. 1989).

        Furthermore, Plaintiffs contend that the named Plaintiffs and members of the AWPA

Class are “economically disadvantaged, making individual suits difficult to pursue.”

Robidoux v. Celani, 987 F.2d 931, 936 (2d Cir. 1993). Because the number of class

members is sufficient and the circumstances do not make joinder a practical alternative, the

class meets the Rule 23(a)(1) standard for numerosity.

        2. There are common questions of law and fact.

        Under the "commonality" requirements of Rule 23(a)(2), Fed.R.Civ.P., at least one

common question of law or fact must exist among class members. See Haywood, 109

F.R.D. at 577-78. It is not necessary, however, that all of the questions of law or fact in a

case be common to all putative class members, but only that “a single common question . . .
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exist.” Rodger, 160 F.R.D. at 537.. “Indeed, a single common question is sufficient to

satisfy the rule.” Haywood, 109 F.R.D. at 577. In Hernandez Garcia, the named Plaintiffs

were crab workers who had claims related to payment for housing and knives that were not

shared by dock workers. However, the Court found there were common issues of law and

fact between the Plaintiffs and the dock workers related to payment of visa and

transportation costs such that commonality existed. See Hernandez Garcia Order at 5; see

also, Haywood, 109 F.R.D. at 577 (holding that “class certification will not be defeated

solely because there are some factual variations among the members’ grievances”).

       Here, named Plaintiff Aguilar Gamas and the other putative class members were all

paid on a piece rate basis and share common questions of law or fact: (a) for each

agricultural season between June 20, 2010 and September 15, 2014, did Scott Farms

and/or the individual Scott defendants employ plaintiff Aguilar and the members of the

putative class as migrant or seasonal agricultural workers under the AWPA? (b) for each

agricultural season between June 20, 2010 and September 15, 2014, did Scott Farms

and/or the individual Scott defendants violate the recordkeeping and wage statement

provisions of 29 U.S.C. §§ 1821(d)(1)(B)-(D), 1821(d)(2), 1831(d)(1)(B)-(D), 1831(d)(2)

of the Migrant and Seasonal Agricultural Worker Protection Act (“AWPA”) by failing to

disclose, make, and preserve wage statements and records which accurately disclosed and

recorded the number of piecework units earned, the hours worked, and the total pay

period earnings for the named plaintiff Aguilar and the members of the putative class?

See Amended Complaint, ¶ 44. Therefore, the commonality requirement is satisfied.

       3. The named Plaintiffs’ claims are typical of those of the Class.

       Rule 23(a)(3) requires that the claims or defenses of the representative parties are



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typical of the claims or defense of the class. Haywood, 109 F.R.D. at 578. “The claim of a

party is typical if it arises from the same event or course of conduct which gives rise to the

claims of other class members and is based on the same legal theory.” Id. “[T]he

requirements of commonality and typicality tend to merge” in that “[b]oth serve as

guideposts for determining whether under particular circumstances maintenance of a class

action is economical and whether the named plaintiff’s claims and the class claims are so

interrelated that the interests of the class members will be fairly and adequately protected in

their absence.” Falcon, 457 U.S. at 157 n.13. The typicality requirement does not require

that all of the putative class members share identical claims. Rodger, 160 F.R.D. at 538 (“A

court may determine that the typicality requirement is satisfied even when the plaintiffs’

claims and the claims of the class members are not identical”). The prerequisite is only that

Plaintiffs’ claims be common, and “class representatives must not have an interest that is

antagonistic to that of the class members.” Id.

        The facts alleged in Plaintiffs’ Amended Complaint and named Plaintiff Aguilar

Gamas’s declaration meet the requirements of Rule 23(a)(3) with respect to the AWPA

Class. Plaintiff Aguilar Gamas’s claims and the claims of the AWPA Class members arise

from the same practices and course of conduct by Defendants. Plaintiff Aguilar Gamas and

the members of the proposed AWPA Class were all employees of Defendants and they were

all paid on a piece rate basis during at least part of their employment. Defendant Scott

Farms admits that on some occasions between June 20, 2010 and January 1, 2012 they

provided start and stop times for piece rate work that were estimated “and so may have been

inaccurate.” See Responses to Plaintiffs’ Third Requests for Admission, ¶¶ 20-21 (DE 79-

5). Defendant Scott Farms also admits that on some occasions between June 20, 2010 and



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January 1, 2012 “it did not make, keep, and/or preserve accurate records of the start and stop

times for work done by Plaintiff Mauricio Aguilar-Gamas [sic] and more than 50 other field

workers who were performing piece rate work as employees of Scott Farms, Inc.” See id. at

¶¶23-24.

         The claims of the named Plaintiffs and proposed AWPA Class members are based

on the same legal theory. Defendants were required under the AWPA to make, keep, and

preserve accurate records of the number of piecework units earned and the number of hours

worked. 29 U.S.C. §§ 1821(d)(1)(B)-(C), 1831(d)(1)(B)-(C). Defendants were also

required to provide to each worker for each pay period, an itemized written statement

which included the number of piecework units earned and number of hours worked. 29

U.S.C. §§ 1821(d)(2), 1831(d)(2). Defendant Scott Farms has admitted that it failed to do

this. Therefore, Plaintiff Aguilar Gamas has established that the claims under the AWPA

are "typical" of the claims of the Plaintiff Class he seeks to represent.

         4. Named Plaintiff Aguilar Gamas is an adequate representative of the Class.

         Rule 23(a)(4) requires that “the representative parties will fairly and adequately

protect the interests of the class.” This is a two-part inquiry to determine: (1) whether the

class representatives’ claims are sufficiently interrelated to and not antagonistic with the

class’ claims and (2) that legal counsel is qualified, experienced and generally able to

conduct the litigation. Rodger, 160 F.R.D. at 539; see also Haywood, 109 F.R.D. at 578.

Plaintiff Aguilar Gamas has met these requirements with respect to the proposed AWPA

Class.

         Plaintiff Aguilar Gamas meets the first requirement by demonstrating his consistent

involvement in the litigation. Id. at 578-79. Here, as in Haywood, he has a common interest



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with class members in the litigation, possesses a personal financial stake in the outcome,

consulted regularly with Class Counsel, submitted an affidavit to the court, and participated

in a lengthy mediation to resolve these claims. Id.; Declaration of Carol L. Brooke in

Support of Joint Motion for Preliminary Approval of Collective Action and Class Action

Settlement, (“Brooke Decl.”) (DE 79-1), ¶¶ 10-11, 13. Plaintiff Aguilar Gamas understood

his obligation as class representative in the event that the Court certified this as a class action

with respect to AWPA claims. See Brooke Decl., ¶¶ 14-15.

        In addition, under the arrangement between the Plaintiff and counsel, all expenses

incident to class certification can be advanced to the named Plaintiff by counsel for the

Plaintiffs, with the named Plaintiff remaining ultimately liable for such costs in the event

that the Court rejects either the Settlement Agreement or the Plaintiff’s request and motion

that the expenses involved in providing notice to the class be paid for by the Defendants.

Brooke Decl., ¶ 8; Sworn Declaration of Robert J. Willis (“Willis Decl.”) (DE 79-2), ¶¶ 2-

3; see Haywood, 109 F.R.D. at 580 (approving such a cost advance arrangement).

        Lastly, Robert Willis, Carol Brooke, and Clermont Ripley, counsel for the named

Plaintiffs, are experienced counsel who have previously been counsel in class action

litigation, including class litigation involving identical claims as asserted in the instant case.

Brooke Decl., ¶¶ 6; Willis Decl., ¶¶ 8-9. See also Covarrubias. 2011 WL 2690531 at *7.

C. The Class Satisfies the Requirements of Rule 23(b)(3).

        Class certification under Rule 23(b)(3) requires that common issues of law or fact

predominate over individual issues and that the class action be the superior method of

dealing with the dispute. The factors used to make this determination are: “(A) the interest

of members of the class in individually controlling the prosecution or defense of separate



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actions; (B) the extent and nature of any litigation concerning the controversy already

commenced by or against members of the class; (C) the desirability or undesirability of

concentrating the litigation of the claims in the particular forum; (D) the difficulties likely to

be encountered in the management of a class action.” Rule 23(b)(3), Fed. R. Civ. P. See

also Haywood, 109 F.R.D. at 580-84, and 592-93.

        The proposed class satisfies the requirements of (b)(3) for the reasons already stated

in Section III A and B of this memorandum of law as to Rule 23(a). See Rossini v. Ogilvy &

Mather, Inc., 798 F.2d 590 at 598 (2d Cir. 1986) (holding that satisfaction of Rule 23(a)

“goes a long way toward satisfying the Rule 23(b)(3) requirement of commonality”). Based

on the allegations in the Complaint, certification of the AWPA Class is appropriate under

Rule 23(b)(3). The legal and factual issues described in paragraphs 32 and 48 of the

Amended Complaint predominate over any individual issues of law and fact for any

Plaintiff class member.

        Class treatment of the legal issues identified in this case would also be superior to

other procedures for the handling of the claims in question for a number of reasons. No

member of the AWPA Class has any necessary interest in individually controlling the

prosecution of the claims at issue in this litigation. “Additionally, because of the

relatively small amount of the wage claims in this case, no individual class member could

have any reasonable financial capability to pursue this litigation on an individual basis.”

See Gaxiola 2011 WL 806792 at 12; Hernandez Garcia Order at 6.

        In addition, no other litigation concerning this matter and filed by any of the

parties involved in the present action is currently pending. Plaintiffs’ counsel are not

aware of any other litigation pending against Defendants besides this action.



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      Furthermore, this Court has a substantial interest in the resolution of the issues raised in

      this litigation occurring in one forum. Because Plaintiff and members of the AWPA

      Class were all employed by the same corporate employer, Scott Farms, Inc., that

      maintained payroll records and employee data for all of the field workers furnished to it

      by its farm labor contractor supervisors for the entire time period covered by the AWPA

      class, the management of a class action under Rule 23(b)(3) in this matter should not

      present any difficulties.

IV.   THE PLAINTIFFS HAVE MET THE REQUIREMENTS FOR CERTIFICATION
      OF A COLLECTIVE ACTION UNDER 29 U.S.C. § 216(b)

             The legal standard for evaluating the “similarly situated” requirement for a FLSA

      collective action under 29 U.S.C. §216(b) is discussed in Jimenez-Orozco v. Baker Roofing

      Co., 2007 WL 4568972 (E.D.N.C. Dec. 21, 2007) at*6-7; and Leyva v. Buley, 125 F.R.D.

      at 518. If those standards are applied to this case, there can be no doubt that the named

      plaintiffs have met them.

             The collective action is based upon the claim of both named plaintiffs in ¶¶21-24

      of the Amended Complaint that in the time period from June 20, 2010 to the date final

      judgment is entered in this action they and other similarly situated employees of Scott

      Farms, Inc. were not paid at the overtime rate required by 29 U.S.C. § 207(a)(1) for the

      hours they performed or will perform work for Scott Farms, Inc. that totaled in excess of

      40 hours in the same workweek when, during that same workweek, that same person also

      processed or packed some sweet potatoes that were not grown and produced in

      connection with the farming operations of Scott Farms, Inc. Plaintiffs’ argument that

      they were similarly situated with the putative members of the collective action is outlined

      in Plaintiffs’ Memorandum of Law in Support of Plaintiffs’ Motion to Conditionally

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     Certify a Fair Labor Standards Act Collective Action and to Authorize Notice to be

     Issued to the Putative Members of the FLSA Collective Action. De 62 at 12-13 and 20-

     22. Solely for purposes of this joint memorandum and proposed settlement, the parties

     jointly adopt and incorporate the Plaintiffs’ previously filed Memorandum.


V.   CONCLUSION

            For the reasons set forth above, the parties respectfully request that their Joint

     Motion for Certification of Settlement Classes be granted.



     Respectfully submitted, this the 19th day of December, 2014.




     /s/ Robert J. Willis                             /s/ F. Marshall Wall
     Robert J. Willis                                 F. Marshall Wall
     N.C. Bar No.10730                                N. C. Bar No. 26804
     P.O. Box 1269                                    E-mail: mwall@cshlaw.com
     Raleigh, NC 27602                                Paul H. Derrick
     (919) 821-9031                                   N. C. Bar No. 27366
     (919) 821-1764 (fax)                             E-mail: pderrick@cshlaw.com
     rwillis@rjwillis-law.com                         Cranfill Sumner & Hartzog LLP
     Attorney for Plaintiffs                          Post Office Box 27808
                                                      Raleigh, North Carolina 27611-7808
                                                      Telephone:      (919) 828-5100
                                                      Facsimile:      (919) 828-2277
                                                      Attorneys for Defendants



     /s/ Carol Brooke                                 /s/ Andrew M. Jackson
     Carol Brooke                                     Andrew M. Jackson
     N.C. Bar No. 29126                               N.C. Bar No. 28594
     carol@ncjustice.org                              E-mail: andy@andrewjacksonlaw.com
     Clermont Fraser Ripley                           Andrew Jackson Law
     N.C. Bar No. 36761                               407 College St
     clermont@ncjustice.org                           PO Box 27
     North Carolina Justice Center                    Clinton, NC 28329-0027

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PO Box 28068                        Telephone: (910) 592-4121
Raleigh, NC 27611-8068              Fax: (910) 590-1012
Attorneys for Plaintiffs            Attorney for Defendants




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                            CERTIFICATE OF SERVICE

I hereby certify that on this date a true and correct copy of the Joint Memorandum of Law
In Support of Joint Motion for Class and Collective Action Certification Under Rule
23(b)(3) and 29 U.S.C. § 216(b) was electronically filed with the Clerk of the Court using
the CM/ECF system which will send notification of such filing to the following:



F. Marshall Wall, N. C. Bar #26804
Paul H. Derrick, N. C. Bar #27366
Cranfill Sumner & Hartzog LLP

Andrew M. Jackson, N.C. Bar # 28594
Andrew Jackson Law


                                            This the 19th day of December, 2014.


                                            /s/ Carol L. Brooke
                                            Carol L. Brooke, Esq.
                                            N.C. Bar No.: 29126




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